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                        UNITED STATES DISTRICT COURT                                        10/10/2023
                        WESTERN DISTRICT OF VIRGINIA                                   ("//(#$/  "/
                             LYNCHBURG DIVISION                                        -/ ./ "/ #/
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    STUDENT A, STUDENT C, and STUDENT D,
    individually and on behalf of others similarly
    situated,
                                                          Case No.: 6:20-cv-00023
                                   Plaintiffs,
                                                          MEMORANDUM OPINION
                   v.

    LIBERTY UNIVERSITY, INC., d/b/a,
                                                          Judge Norman K. Moon
    LIBERTY UNIVERSITY,


                                   Defendant.


          In this putative class action, several students at Liberty University seek a refund for

   various fees and room and board they paid for the Spring 2020 semester. They assert that Liberty

   did not provide the activities and services that they paid for with those fees, when, they contend,

   Liberty effectively closed its campus that semester in response to the COVID-19 pandemic.

          This matter is before the Court on Plaintiffs’ motion to certify a class. For the following

   reasons, the Court holds that even if the named Plaintiffs previously had standing to sue, their

   claims have since been mooted. Liberty’s voluntary payments and monetary credits to the named

   Plaintiffs for COVID-19 relief more than compensated them for any liability Liberty owed them

   from the prorated fees.

          Plaintiffs’ class certification motion also fails on the merits. Highly individualized,

   intertwined questions of liability and damages predominate. Specifically, it is an open question

   which, if any, portion of the over six hundred different fees actually went “unused” by each of

                                                    1
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   approximately 14,000 Liberty students who were enrolled in any of its seventeen colleges in

   undergraduate and graduate studies. The three named Plaintiffs—all undergraduate students—

   have not demonstrated commonality or that their claims were typical of the class they seek to

   represent. Neither have they shown that common questions predominate in a class proceeding,

   nor that a class action is the superior method to resolve such claims. Accordingly, Plaintiffs’

   motion is denied, and the case will be dismissed.

                                              Background

          1. Liberty University’s Spring 2020 Semester

          Liberty University is an evangelical Christian liberal arts institution in Lynchburg,

   Virginia, which is comprised of seventeen colleges and schools. 1 These include, among others,

   Liberty’s College of Arts & Sciences, School of Aeronautics, School of Business, School of

   Divinity, School of Education, School of Engineering, School of Government, School of Health

   Sciences, School of Music, and School of Nursing. 2

          Liberty’s Spring 2020 semester began on January 13, 2020, shortly before the COVID-19

   pandemic first impacted Virginia. 3 On March 12, 2020, the then-Governor of Virginia declared a

   state of emergency, and on March 30, 2020, he issued a “stay at home” order for all Virginians. 4

          On March 16, 2020, Liberty announced that it was transitioning most of its residential

   classes to an online digital format beginning on March 23. 5 That announcement was followed-up




          1
              Am. Compl. ¶ 23, Dkt. 17; Answer ¶ 23, Dkt. 134; Dkt. 89-12 at ECF 81.
          2
              See Dkt. 89-13.
          3
              Am. Compl. ¶ 28; Answer ¶ 28.
          4
              Am. Compl. ¶ 42; Answer ¶ 42.
          5
              Am. Compl. ¶ 43 & n. 10; Answer ¶ 43; Cooper Decl. ¶ 5, Dkt. 89-1.

                                                    2
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   by a campus-wide email on March 17. 6 However, in Plaintiffs’ view, the campus had

   “effectively been shut down.” 7 The upshot was that Liberty permitted students to remain on

   campus. 8 Liberty’s campus residence halls remained open. 9 Similarly, Liberty’s dining facilities

   remained open and staffed, though they were modified for “take-out” meals only. 10 Liberty gave

   its students the option to return to campus following spring break where most could resume their

   classes in an online format, or they could complete their courses from a remote location. 11

          After March 29, 2020, 2,284 students continued to reside on campus; by the end of the

   Spring 2020 semester, 1,536 students remained on campus. 12 Final exams concluded on May 5,

   2020, and students were required to move out of their residence halls on May 6, 2020. 13

          2. Liberty’s Contracts with Students

          Each Liberty student must agree to a Financial Check-In Contract (“FCI Contract”) with

   Liberty when they register for classes. 14 The FCI Contract provides that “[t]his contract

   documents the agreement you’ve made with Liberty University.” 15 The FCI Contract includes a

   “Financial Responsibility Agreement,” which states that it “constitutes a binding contract




          6
              Am. Compl. ¶ 45; Answer ¶ 45.
          7
              Am. Compl. ¶ 8; see also id. ¶ 2 (noting that “the University purports to remain open”).
          8
              Am. Compl. ¶¶ 7–8.
          9
              Am. Compl. ¶ 44; Answer ¶ 44.
          10
               Cooper Decl. ¶ 7; see also Am. Compl. ¶ 6.
          11
               Cooper Decl. ¶ 8; see also Am. Compl. ¶¶ 7, 38, 44.
          12
               Cooper Decl. ¶ 9.
          13
               Am. Compl. ¶¶ 28–29; Answer ¶¶ 28–29.
          14
               Cooper Decl. ¶ 12.
          15
               E.g., Dkt. 89-8 at 1 (Student A FCI Contract).

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   between the student and Liberty University, Inc. [ ] regarding the matters addressed herein,”

   including terms concerning “payment of fees” and “promise to pay”:

          Payment obligation: I understand and agree that when I register for any class at
          Liberty or receive any service at Liberty, I accept full responsibility to pay all
          tuition and other associated costs assessed as a result of my registration and/or
          receipt of services in accordance with the applicable fee schedule as shown on the
          Summary of Account, according to the Payment Plan Selection previously chosen
          during Financial Check In (“FCI”), and pursuant to all applicable Liberty
          Academic Catalogues located at www.liberty.edu/academics/catalogs, the Liberty
          Way, and all applicable Liberty Codes of Conduct, Codes of Honor, policies and
          procedures which are incorporated herein by reference and to which I expressly
          agree to be bound.

   Dkt. 89-8 at 2.

          The FCI Contract concludes with a space for the student to enter their electronic signature

   to the contract. The electronic signature portion of the FCI Contract provides as follows:

          Electronic Signature: By submitting my typed name as indicated below, I
          acknowledge and agree that I have read, understood, and accepted the terms and
          conditions of this Agreement. By submitting my typed name as indicated below, I
          acknowledge and agree that I am obligated to pay all costs and expenses at
          Liberty University, and promise to pay Liberty University, or any subsequent
          holder of the debt, the balance plus interest and other fees which may become due
          pursuant to this Agreement.

   Dkt. 89-8 at 4.

          The FCI Contract contains the same general contract terms for each Liberty student. 16

   However, each FCI Contract contains a “Summary of Account” page that specifically identifies

   each student’s total semester charges (e.g., fees, room and board, dining plan, and tuition), and

   payments (e.g., academic scholarships, governmental loans and grants). 17




          16
               Cooper Decl. ¶¶ 12–16; Dkt. 89-8 at 2–4; Dkt. 89 at 4.
          17
               Cooper Decl. ¶¶ 13–15; Dkt. 89-8 at 1 (Summary of Account for Student A).

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          3. Students A, C, and D

          This case is brought by three individual plaintiffs on behalf of the putative class,

   identified as Students A, C, and D (occasionally, the “named Plaintiffs”). 18 They were students at

   Liberty during the Spring 2020 semester. 19 Student A was an undergraduate student studying

   history, who lived off campus that semester. 20 Student C was an undergraduate student pursuing

   an interdisciplinary studies degree (with coursework in fine arts, religious studies, and American

   Sign Language), and was living on campus that semester. 21 Finally, Student D was an

   undergraduate student pursuing a Bachelor of Science degree in mechanical engineering, and

   was also living on campus. 22 Students A, C, and D all decided not to return to campus after

   spring break in 2020 (March 16–20, 2020), though other students remained on campus

   afterward. 23 They acknowledge that Liberty did not require them to move out, but that it was

   their own decision to do so. 24

          Plaintiffs seek to recoup the “prorated, unused” portion of fees they paid to Liberty for

   the Spring 2020 semester. 25 The parties calculate that portion of fees by taking each student’s


          18
             A fourth individual plaintiff, Student B, filed a notice of voluntary dismissal of their
   claims in this case. Dkt. 57.
          19
               Am. Compl. ¶¶ 18, 20, 21; Answer ¶¶ 18, 20, 21.
          20
               Dkt. 89-2 (“Student A Dep.”) at 24:1–10.
          21
               Dkt. 89-3 (“Student C Dep.”) at 41:11–42:5, 76:1–21.
          22
               Dkt. 89-4 (“Student D Dep.”) at 24:16–21, 33:6–12.
          23
            Student A Dep. at 29:6–19, 30:10–19, 33:4–7; Student C Dep. at 22:10–23:11; Student
   D Dep. at 42:12–20.
          24
             See, e.g., Student A Dep. at 40:12–41:3 (testifying that Liberty’s email to students had
   “encourag[ed] us to go home”); Student C Dep. at 22:10–23:11 (testifying that Liberty “strongly
   recommend[ed]” but did not “forc[e]” anyone to leave); Student D Dep. at 44:17–45:3 (Q. “Did
   Liberty require you to move out of your residence hall in the spring of 2020?” A. “No, sir.” Q.
   “That was your decision?” A. “Yes, sir.”).
          25
               Am. Compl. ¶ 17.

                                                     5
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   Spring 2020 semester fees and multiplying that by the portion of the semester that remained

   when Liberty moved most of its classes online (March 23) until the semester’s end (May 6). 26

   When most classes moved online, about 37 percent of the semester remained, meaning that

   Plaintiffs at most seek a refund of 37 percent of the fees they were charged for the Spring 2020

   semester. 27 The following table reflects the fees that Liberty charged to Students A, C and D in

   the Spring 2020 semester, as well as the prorated amounts for which they are seeking damages.

                                              TABLE 1 28

      Student                          Fees Charged                         Semester      Prorated
                                                                              Total         Fees
     Student A       Online Content Fee            $50                      $1,370.21     $506.98
                     Parking                       $100
                     Health Center                 $170
                     Dining Plan                   $665
                     Activity                      $385
                     Monthly Printing              $0.21

     Student C       Online Content Fee            $65                      $5,828.80     $2,156.66
                     Book Voucher Advance          $61.10
                     Degree Completion Fee         $100
                     Housing                       $2,900
                     Student Health                $170
                     Dining Plan                   $2,090
                     Pay Plan Participation Fee    $50
                     Monthly Printing              $7.70
                     Activity Fee                  $385


                     [Continued onto next page]


          26
               Am. Compl. ¶¶ 28, 43, 59, 73, 78.
          27
               Cooper Decl. ¶ 20.
          28
              Cooper Decl. ¶ 22; Dkt. 89 at 7–8; Dkt. 89-8 (“Student A FCI Contract”) at 1; Dkt. 89-
   9 (“Student C FCI Contract”) at 1; Dkt. 89-10 (“Student D FCI Contract”) at 1. Student C’s FCI
   contract reflects a $61.10 book voucher advance rather than $51.95 as in the Cooper Declaration,
   so the Court has used the larger fee in Plaintiffs’ favor. The Court notes that Plaintiffs do not
   contest the fee calculations and even use the slightly lower amount. Dkt. 99 at 5. In any event,
   the difference is immaterial.

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     Student D      Online Content Fee            $117                       $5,867.97     $2,171.15
                    Housing                       $2,900
                    Student Health                $170
                    Material Fee                  $110
                    Material Fee                  $45
                    Dining Plan                   $2,090
                    Pay Plan Participation Fee    $50
                    Monthly Printing              $0.97
                    Activity Fee                  $385


          4. Housing Credits and Meal Plan Credits

          On March 20, 2020, Liberty announced that students who chose not to return to their on-

   campus housing for the rest of the Spring 2020 semester (departing campus as of March 28),

   would receive a $1,000 credit toward any of their Fall 2020 semester charges, such as room,

   board, tuition, or fees. Cooper Decl. ¶ 23. For students who returned to campus in Fall 2020,

   Liberty applied the credit toward their Fall 2020 semester charges. Meanwhile, graduating

   students received a refund if the housing balance credit left a positive balance on their account.

   Id. ¶ 24. Liberty described the program as a “customer service measure.” Id. ¶ 23.

          Liberty disbursed the housing credits to 5,430 students, which had a value of $5,400,000.

   Id. ¶ 25. Students C and D received the $1,000 housing credit. Id. ¶¶ 25, 41.

          Liberty also “rolled over” credits for the unused portions of students’ Spring 2020 meal

   plans if the student purchased another meal plan for the Fall 2020 semester. Id. ¶ 26. Liberty

   distributed meal plan credits to 2,013 students in this manner. Id. ¶ 27. Among those were

   Plaintiff Student A, who received about $480 in value of meal plan “roll-over swipes” that

   carried over to the Fall 2020 semester. Id.

          5. COVID Emergency Relief Funds

          In March 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security Act

   (“CARES Act”). Pub. L. 116-136, 134 Stat. 281 (2020). The Act included funds designated for

                                                    7
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   the Higher Education Emergency Relief Fund (“HEERF I”). Id. § 18004. Liberty applied for

   funds from HEERF and on June 25, 2020, Liberty received $15,205,124 in such funds. Dkt. 89-1

   at 8 ¶¶ 29–30 (Cooper Decl.).

           The CARES Act specified the “uses of funds” made available under HEERF I. CARES

   Act § 18004(c). The Act provided that “[i]nstitutions of higher education shall use no less than

   50 percent of such funds to provide emergency financial aid grants to students for expenses

   related to the disruption of campus operations due to coronavirus.” Id. Such expenses included

   “eligible expenses under a student’s cost of attendance, such as food, housing, course materials,

   technology, health care, and child care.” Id. The parties refer to this as the “Student Portion” of

   the CARES Act emergency funds. Cooper Decl. ¶ 31; Dkt. 89 at 11; Dkt. 99 at 4.

           As to the remaining portion of funds (totaling no more than 50 percent of the funds

   provided), the Act specified that “an institution of higher education … may use the funds to

   cover any costs associated with significant changes to the delivery of instruction due to the

   coronavirus.” CARES Act § 18004(c). The parties refer to this as the “Institutional Portion” of

   the emergency funds. 29 The Act provided certain restrictions on uses for the Institutional Portion,

   including that such funds could not be used for “payment to contractors for the provision of pre-

   enrollment recruitment activities; endowments; or capital outlays associated with facilities

   related to athletics, sectarian instruction, or religious worship.” Id.

           Liberty disbursed the entirety of the $15,205,124 in CARES Act funds it received to

   students in the form of emergency financial aid grants to eligible students enrolled in on-campus

   classes during the Spring 2020 semester. Cooper Decl. ¶¶ 30, 33. That included the entirety of

   the Institutional Portion of CARES Act funds Liberty had received. Id.


           29
                Cooper Decl. ¶ 32; Dkt. 89 at 11; Dkt. 99 at 4.

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          In addition, the federal government disbursed additional COVID relief funds to higher

   educational institutions via the Coronavirus Response and Relief Supplemental Appropriations

   Act. Pub. L. 116-260, 134 Stat. 1932 (2020). Liberty received $10,221,498 in these “HEERF II”

   funds that Liberty distributed to students as additional emergency financial aid grants to students

   affected by COVID-19 during the Spring 2020 semester. Cooper Decl. ¶ 44. In total, Liberty

   disbursed $25,426,622 in CARES Act and HEERF II emergency financial aid grants to 14,957

   students. Id. ¶¶ 49–50. Student A, C and D received from Liberty the following funds made

   available by the CARES Act under the HEERF I program. 30

                                              TABLE 2 31

            Student                         CARES Act Funds                           Amount
           Student A     Spring Student Portion       $1,365                         $2,548.90
                         Spring Institutional Portion $430
                         Fall Institutional Portion   $753.90

           Student C     Spring Student Portion       $1,365                         $3,577.30
                         Spring Institutional Portion $450
                         Fall Institutional Portion   $762.30
                         Housing Credit               $1,000

          30
              The picture for the HEERF II funds is a little more complicated. Liberty writes that
   “Students A, C and D did not receive any emergency grants out of the HEERF II funds.” Dkt. 89
   at 14. In fact, however, Liberty’s evidence shows that Students A and D did receive HERFF II
   funds: each receiving $2,616. Cooper Decl. ¶¶ 47, 48. However, Students A and D did not
   receive HEERF II relief to cover unmet expenses due to COVID-19 campus disruption in the
   Spring 2020, because Liberty found that they had “already received CARES Act funds that
   exceeded their prorated fee total for the Spring 2020 semester.” Id. ¶¶ 45, 47. Rather, Students A
   and D got HEERF II funds because they fell into a second category of eligible students: those
   “who had a Pell eligible expected financial contribution and were enrolled in the 2020-2021
   academic year.” Id. Student C was ineligible for HEERF II distributions because she graduated.
   Id. ¶ 47. In any event, as neither party argues HEERF II relief afforded to Students A and D
   should offset Liberty’s liability, nor that it impacts whether any plaintiff suffered an injury-in-
   fact, the Court will only address the parties’ arguments as to the CARES Act HEERF I funds.
          31
             See Cooper Decl. ¶ 41; Dkt. 89 at 14; Dkt. 89-3 (Dep. of Student C) at 108:13–17;
   Dkt. 99 at 5 (Plaintiffs use and do not challenge Liberty’s calculation of prorated fees and
   CARES Act HEERF I funds received).



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           Student D       Spring Student Portion       $1,365                            $3,577.30
                           Spring Institutional Portion $450
                           Fall Institutional Portion   $762.30
                           Housing Credit               $1,000


           To distribute the CARES Act funds promptly, Liberty divided students into five broad

   categories to determine the initial amount of financial aid grants.

                    x   Students who resided on campus and left Lynchburg housing by March 28,
                        2020, received an initial amount of about $1,815.00.

                    x   Students who resided on campus and stayed in Lynchburg past March 28,
                        2020, received an initial amount of about $285.00.

                    x   Students who resided off campus (with meal plan) and left Lynchburg by
                        March 28, 2020, received an initial amount of about $1,795.00.

                    x   Students who resided off campus (with no meal plan) and left Lynchburg by
                        March 28, 2020, received an initial amount of about $1,615.00.

                    x   Students who resided off campus but remained in Lynchburg for the Spring
                        2020 semester received an initial amount of about $395.00. 32

           Liberty attested that it calculated the amounts awarded in these categories taking into

   account costs of “(i) travel and transportation (e.g., vehicle insurance and rentals), (ii) internet

   and technology (e.g., cell phone charges and course fees), (iii) housing (e.g., shelter, utilities,

   housekeeping supplies, furnishings, and other household equipment), (iv) meals, (v) health

   services, (vi) parking, and (vii) activity fees.” 33 Liberty further attested that it pursued this

   approach toward disbursing these CARES Act funds “because determining each student’s costs

   and expenses would have required a highly individualized, time consuming, and costly

   endeavor.” 34


           32
                Cooper Decl. ¶ 34.
           33
                Cooper Decl. ¶ 35.
           34
                Cooper Decl. ¶ 36.

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           6. Comparison of Prorated Fees, and Credits and Cares Act Funds

           The table below compares Plaintiffs’ prorated fees for the Spring 2020 semester, with the

   total credits and Institutional Portion (only) of the CARES Act funds that Liberty distributed to

   Plaintiffs.

                                               TABLE 3

           Student            Prorated Fees       Credits & Inst’l           Credits Minus
                              From Table 1        Portion Only of             Prorated Fees
                                                 CARES Act Funds             (Column 3 – 2)
                                                   From Table 2
          Student A             $506.98              $1,183.90                   $676.92

          Student C             $2,156.66               $2,212.30                 $55.64

          Student D             $2,171.15               $2,212.30                 $41.15



           7. Scholarships, Grants, and Other Sources of Funding

           Liberty also offers a number of scholarships, loans, and grants to students. Liberty

   provides academic scholarships, athletic scholarships, scholarships based on geographic diversity

   and in-state residency, and various scholarships and awards for Evangelical service and service

   in summer ministries. Dkt. 89 at 8 (citing Liberty Scholarships website); Cooper Decl. ¶ 15. In

   addition, Liberty students receive grants from federal and state government, including Federal

   Pell Grants (need-based awards); Federal Supplemental Educational Opportunity Grants

   (“FSEOG”) (need-based awards for students with no expected family contribution). Dkt. 89 at 8;

   Cooper Decl. ¶¶ 15, 22. Nearly 95 percent of Liberty students receive some form of financial aid.

   Cooper Decl. ¶ 15. Other sources of scholarships, grants, and funds for student education may be

   available. Dkt. 89 at 9.




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          Liberty’s scholarships and government loans and grants are disbursed directly onto each

   Liberty’s students account as credits, offsetting any charges for tuition and fees, and with any

   excess credits being refunded to the student. Cooper Decl. ¶¶ 13, 15. Students A, C, and D each

   received the following grants and scholarships for the Spring 2020 semester:

                                               TABLE 4

            Student                    Grants and Scholarships                        Amount
                                         Spring 2020 Semester
           Student A     Federal Pell Grant          $3,097                            $6,497
                         Liberty Book Dollars        $400
                         Early Deposit Award         $2,000
                         Liberty Champion Award $500
                         FSEOG                       $500
           Student C     Federal Pell Grant          $3,097                            $8,222
                         Liberty Supplemental Grant $750
                         Liberty Scholars Grant      $1,000
                         FSEOG                       $500
                         Liberty Champion Award $1,750
                         Academic Scholarship        $1,125

           Student D     Federal Pell Grant         $3,097                             $7,697
                         Liberty Supplemental Grant $750
                         Liberty Scholars Grant     $1,100
                         FSEOG                      $500
                         Liberty Champion Award $1,000
                         Academic Scholarship       $1,250


   See Cooper Decl. ¶ 22; Dkt. 89 at 10.

                                           Procedural History

          The named Plaintiffs filed a putative class action against Liberty, and subsequently filed

   the operative first amended complaint. Dkt. 17. Plaintiffs brought four state-law claims against

   Liberty: breach of contract, unjust enrichment, conversion, and violation of the Virginia

   Consumer Protection Act (“VCPA”), Va. Code § 59.1-196, et seq. Am. Compl. at 19–23. Liberty

   filed a motion to dismiss, which the Court granted in part—permitting Plaintiffs’ breach of


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   contract and unjust claims to proceed, but dismissing Plaintiffs’ conversation and VCPA claims.

   Dkts. 125, 126.

          While Liberty’s motion to dismiss was pending, the named Plaintiffs filed a motion to

   certify a class. Dkts. 42, 43. In their motion, they sought certification of a class comprised of:

   “All students who paid fees (including but not limited to campus fees, room, board, parking, and

   other fees as broadly defined herein) in connection with enrollment in live, on-campus classes at

   Liberty University for the Spring 2020 semester.” Dkt. 42 at 1. The named Plaintiffs argued that

   the proposed class not only satisfied the basic requirements of Rule 23(a) of the Federal Rules of

   Civil Procedure, but also the requirements of Rule 23(b), requiring that the common questions

   predominate over individual ones and that proceeding as a class would be the superior method of

   resolving the controversy. Dkt. 43 at 6–15. Alternatively, the named Plaintiffs argued that

   certification under Rule 23(b)(2) or 23(c)(4) would be appropriate. Id. at 15–17.

          Liberty opposed class certification. Dkt. 89. First, Liberty argued that the named

   Plaintiffs could not satisfy the requirements of Article III, because Liberty had voluntarily paid

   them sums exceeding their total asserted damages. Id. at 16–19. Second, Liberty argued that the

   named Plaintiffs cannot establish Rule 23(a)’s requirements of commonality or typicality,

   Dkt. 89 at 21–23, cannot show that the named Plaintiffs adequately represent the class, id. at 23–

   24, and cannot show that the more demanding requirements of Rule 23(b)(3) have been satisfied,

   id. at 24–27. Liberty also asserted that the named Plaintiffs’ alternative requests for certification

   under Rule 23(b)(2) or Rule 23(c)(4) similarly fail. Dkt. 89 at 27–28. The named Plaintiffs filed

   a reply in further support of class certification, Dkt. 99, and, following issuance of the Court’s

   opinion granting in part and denying in part Liberty’s motion to dismiss, the parties filed




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   supplemental memoranda on class certification, Dkts. 135–36. The Court also heard argument on

   the named Plaintiffs’ motion to certify the class. It is ripe for disposition.

                                           Standard of Review

           A motion to dismiss pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure

   tests a district court’s subject matter jurisdiction. The plaintiff bears the burden of proving

   subject matter jurisdiction on a Rule 12(b)(1) motion, as the party asserting the court’s

   jurisdiction. Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982). A trial court may consider

   evidence and matters outside the complaint on a Rule 12(b)(1) motion without converting the

   proceeding to one for summary judgment. Id.

                                                 Article III

           Liberty argues that its “distribution of credits and CARES Act funds to Students A, C,

   and D mooted this lawsuit because Plaintiffs have no damages.” Dkt. 89 at 16. In Liberty’s view,

   it has “awarded Students A, C, and D more money than the total prorated portion of fees charged

   for the Spring 2020 semester,” in housing credits, meal plan credits, and CARES Act funds. Id.

   at 17–18. Liberty concludes that, because those distributions “exceed[ ] the total amount of fees

   Plaintiffs seek to recover and affords them complete relief for their claims, no live controversy

   remains.” Id. at 18. In addition, Liberty argues that “[e]ven if Plaintiffs could establish a live

   controversy, Plaintiffs lack standing because they fail to allege a particularized injury fairly

   traceable to Liberty’s conduct.” Id. at 18.

           Plaintiffs disagree. They assert that the CARES Act funds that Liberty distributed was

   “taxpayer money”—“not Liberty’s money and it was not the money the students paid directly to

   Liberty for the benefit of campus services, facilities, or room and board.” Dkt. 99 at 4 (emphasis

   omitted). Plaintiffs further contend that they “were injured in-fact,” sufficient for Article III



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   purposes, because “they did not receive full, unencumbered refunds of the amounts they seek.”

   Id. at 7–8. And Plaintiffs argue that “[t]he collateral source rule bars Liberty from receiving

   credit for distributing government stimulus funds.” Id. at 8–11.

          Before turning to Rule 23’s requirements, the Court must first address whether Article III

   of the Constitution precludes the Court’s ability to hear this suit—either because Plaintiffs lack

   standing or because their claims have been mooted. The Court concludes that, because Liberty

   had voluntarily paid to Students A, C and D amounts that exceed their total asserted financial

   injury, amounts paid from Liberty’s own coffers, the named Plaintiffs’ claims have been mooted.

          1. Applicable Law

          Article III of the Constitution grants federal courts the power to decide legal questions

   only if there is an actual “case” or “controvers[y].” U.S. Const., Art. III, § 2. To invoke the

   jurisdiction of the federal courts, “a plaintiff must demonstrate that he possesses a legally

   cognizable interest, or ‘personal stake,’ in the outcome of the action.” Genesis Healthcare Corp.

   v. Symczyk, 569 U.S. 66, 71 (2013) (internal quotation marks omitted). “Unlike questions of

   mootness and ripeness, the standing inquiry asks whether a plaintiff had the requisite personal

   stake in the outcome of a case ‘at the outset of the litigation.’” Deal v. Mercer County Bd. of

   Educ., 911 F.3d 183, 187 (4th Cir. 2018) (quoting Friends of the Earth, Inc. v. Laidlaw Env’tl

   Servs. (TOC), Inc., 528 U.S. 167, 180 (2000)). The “irreducible constitutional minimum of

   standing” contains three elements: (1) the plaintiff suffered an injury in fact, (2) causally

   connected to the conduct complained of, that (3) will likely be redressed if the plaintiff prevails.

   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).

          The Supreme Court has also interpreted Article III’s limitation of federal court

   jurisdiction to “cases” and “controversies” to “demand that an actual controversy … be extant at



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   all stages of review, not merely at the time the complaint is filed.” Campbell-Ewald Co. v.

   Gomez, 577 U.S. 153, 160 (2016) (internal quotation marks omitted). If an “intervening

   circumstance” should deprive the plaintiff of a “personal stake in the outcome of the lawsuit,”

   regardless of the stage of the lawsuit, the case “must be dismissed as moot.” Id. at 160–61; see

   also U.S. Parole Comm’n v. Geraghty, 445 U.S. 338, 396 (1980) (explaining that “mootness has

   two aspects: when the issues presented are no longer ‘live’ or the parties lack a legally

   cognizable interest in the outcome”). However, a case becomes moot “only when it is impossible

   for a court to grant any effectual relief whatever to the prevailing party.” Campbell-Ewald Co.,

   577 U.S. at 161. In other words, “[a]s long as the parties have a concrete interest, however small,

   in the outcome of the litigation, the case is not moot.” Id.

          “The strictures of Article III standing are no less important in the context of class

   actions.” Baehr v. Creig Northrop Team, P.C., 953 F.3d 244, 252 (4th Cir. 2020). Accordingly,

   in a putative class action, the court must “analyze standing based on the allegations of personal

   injury made by the named plaintiffs.” Id.

          2. Liberty’s Payment to the Named Plaintiffs of its Institutional Portion of CARES Act
          Funds & Credits Exceed Plaintiffs’ Prorated Fees

          Here, even if the named Plaintiffs possessed “the requisite personal stake in the outcome

   of a case at the outset of the litigation,” see Deal, 911 F.3d at 187 (quotation marks omitted),

   intervening circumstances—namely Liberty’s payment of the Institutional Portion of CARES

   Act funds and other credits—mooted their claims, Campbell-Ewald Co., 577 U.S. at 160–61.

   Plaintiffs assert that they suffered an injury in fact in the amount of the allegedly unused prorated

   portion of fees they paid for the Spring 2020 semester. See Am. Compl. ¶¶ 1, 17; Dkt. 99 at 3, 5.

   But, as the data in Table 3 reflects, Liberty paid each of the named Plaintiffs, from its own




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   coffers, amounts exceeding their prorated fees. 35 Indeed, and just considering Liberty’s payments

   of the Institutional Portion of the CARES Act funds and its issuance of housing credits, Liberty

   paid Student A $1,183.90 ($676.92 more than her prorated fees for the semester); Liberty paid

   Student C $2,212.30 ($55.64 more than her prorated fees for the semester); and Liberty paid

   Student D $2,212.30 ($41.15 more than her prorated fees for the semester). See supra p. 11

   (Table 3).

           Plaintiffs’ contrary arguments do not change this picture. Plaintiffs first assert that the

   Court should not consider in the standing/ mootness analysis payments Liberty made from the

   Student Portion of the CARES Act funds, as they were funds that the Government required

   Liberty to pay to the students. See Dkt. 99 at 4–5; CARES Act § 18004(c); Cooper Decl. ¶ 31.

   The Court agrees. For those funds, Liberty was truly nothing more than a “pass through”

   entity—never possessed of any legal right to retain or use the funds except to pass them through

   to its students. But in contrast to the Student Portion of the CARES Act funds, Congress

   appropriated and distributed the Institutional Portion of CARES Act funds for higher educational

   institutions’ (and here, Liberty’s) own use—i.e., “to cover any costs associated with significant

   changes to the delivery of instruction due to the coronavirus.” CARES Act § 18004(c). Put

   plainly, Liberty could have spent the funds on itself, so long as it spent them on permissible

   projects. But it did not. Instead, Liberty chose to give the funds to its students. In fact, Plaintiffs

   concede—as they must—that Liberty need not have given those funds to its students. Dkt. 99 at




           35
              Although it appears Liberty paid the housing credit and other credits before the named
   Plaintiffs filed their suit, Liberty only received the CARES Act funds in June 2020, after suit was
   filed in April 2020. See Cooper Decl. ¶¶ 29–30. Therefore, even if the named Plaintiffs had a
   sufficient stake in their claims when the suit was first filed, their claims were mooted by the
   subsequent payments.

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   5–6 & n. 5 (recognizing “there were many other permissible uses of the institutional portion of

   the CARES/HEERF I funds”).

          “So what?”, Plaintiffs contend. In their view, those payments are irrelevant to the issue

   whether they suffered an “injury in fact.” They argue that Liberty is not entitled to any “credit”

   or offset from disbursing even the Institutional Portion of the CARES Act funds. Dkt. 124 (“Hr’g

   Tr.”) at 23. That is because, Plaintiffs assert, “Liberty never informed the students receiving

   those distributions that it was refunding them for anything.” Dkt. 99 at 5. They claim that “there

   is no actual evidence that those funds reimbursed fees and room and board,” rather than, for

   example, “simply emergency grants to students.” Id. at 6 & n. 5; Hr’g Tr. at 23. Not so.

   Plaintiffs’ argument is contrary to the facts and the law.

          The CARES Act states educational institutions “shall use no less than 50 percent of such

   funds to provide emergency financial aid grants to students for expenses related to disruption of

   campus operations due to coronavirus (including eligible expenses under a student’s cost of

   attendance, such as food, housing, course materials, technology, healthcare, and child care).”

   CARES Act § 18004(c). Agency guidance similarly explained that an educational institution

   could spend its Institutional Portion to “make additional emergency financial aid grants to

   students,” if such distributions met the same statutory requirements as the Student Portion—i.e.,

   that “such emergency financial aid grants are for expenses related to the disruption of campus

   operations due to coronavirus (including eligible expenses under a student’s cost of attendance,

   such as food, housing, course materials, technology, health care, and child care.” 36 That is just

   what Liberty did. Liberty not only provided the Student Portion of the CARES Act funds to its


          36
             U.S. Dep’t of Educ., Higher Education Emergency Relief Fund FAQs,
   https://www2.ed.gov/about/offices/list/ope/heerfinstitutionalfaqs.pdf (last visited Oct. 4, 2023)
   (FAQ 5).

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   students to cover “expenses related to disruption of campus operations due to coronavirus,” but

   directed that the “entirety of the [CARES Act] funds would go directly to [Liberty’s] students,”

   including the Institutional Portion, for that statutory purpose. Dkt. 89 at 12 (citing July 1, 2020

   Statement 37) (emphasis added); Hr’g Tr. at 38. More clearly yet, Liberty’s statement explaining

   how it would disburse CARES Act funds expressly acknowledged that, “[w]hen we were forced

   to transition to all online learning, many of our students incurred unexpected costs and some did

   not make full use of on-campus services for which they paid.” July 1, 2020 Statement (emphasis

   added). 38 Plaintiffs are simply mistaken in arguing that there is not “any evidence that [Liberty]

   used the institutional portion as a fee reimbursement.” Hr’g Tr. at 23.

          Undeterred, Plaintiffs complain that “there is not a dollar-for-dollar payment” statement,

   i.e., no itemized list offsetting specific fees with credits from CARES Act funds. Id. That may

   be. But Plaintiffs cite no authority that a party suffers an injury-in-fact—notwithstanding that the

   alleged tortfeasor compensated them from its own coffers an amount exceeding total financial

   injury, and that the tortfeasor said the payment was at least in part for the asserted financial

   injury—merely because such tortfeasor did not itemize compensation against each facet of total

   asserted financial injury. Nor is the Court aware of such precedent. Plaintiffs’ issue with these

   funds becomes even more tenuous when they acknowledge—as they must—that Liberty “could

   have refunded students for the cost of fees and room and board, and then reimbursed itself from

   the institutional portion of the CARES funds.” Dkt. 99 at 6. At bottom, Plaintiffs ask this Court


          37
             See Liberty, Liberty University chooses to distribute 100% of CARES Act funds to
   students (July 1, 2020), available at http://www.liberty.edu/news/2020/07/10/liberty-university-
   chooses-to-distribute-100-percent-of-cares-act-funds-to-students/. (“July 1, 2020 Statement”).
          38
             The rest of the statement continued, “We also know that many students and their
   families are struggling right now with job loss and other pandemic-related expenses. These
   emergency grants help students address their financial challenges and help them plan for their
   futures.”

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   to ignore that Liberty could have, and in fact, did pay them thousands of Institutional Portion-

   CARES Act funds, merely because they believe Liberty should have had clearer messaging with

   its payment. Since Liberty’s payment of the Institutional Portion of the CARES Act funds is

   highly relevant and substantially compensated Plaintiffs for asserted financial injuries, the Court

   will consider such payments in assessing whether Plaintiffs have shown they suffered (and

   continue to suffer) an injury-in-fact. 39

           In one last maneuver to claim they were injured despite Liberty’s payments exceeding

   their total financial injuries, Plaintiffs argue that the Court should ignore the $1,000 housing

   credits and rollover meal plan swipes that Liberty gave to named Plaintiffs. Dkt. 99 at 7–8. In

   Plaintiffs’ view, “a credit to the [Plaintiffs’] account of the full amount sought did not make

   [them] whole,” because the credits came with “requirements and stipulations attached.” Id. at 8.

   Further, Plaintiffs argue, because they “were not refunded to their method of payments … they

   meet their burden to show injury-in-fact.” Id. (emphasis added) Plaintiffs’ point is unsupported

   by the record and elides traditional principles regarding standing and mootness.

           “To establish injury in fact, a plaintiff must show that he or she suffered an invasion of a

   legally protected interest that is concrete and particularized and actual or imminent, not

   conjectural or hypothetical.” Spokeo, Inc. v. Robbins, 578 U.S. 330, 339 (2016) (quotation marks

   omitted). For an injury to be “particularized,” it “must affect the plaintiff in a personal and

   individual way,” and the injury must be “concrete,” i.e., “real, and not abstract.” Id. at 339–40.




           39
             Plaintiffs further argue that the Court should not consider any payments from the
   HEERF II tranche of funds in its standing/mootness analysis. Liberty also has not sought to
   include the HEERF II payments into its credits to offset the named Plaintiffs’ prorated fees. Dkt.
   99 at 4–5; Cooper Decl. ¶¶ 42–48. Accordingly, the Court need not consider their impact, if any,
   on the standing inquiry.

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          Because Plaintiffs C and D were in student housing in the Spring 2020 semester, Liberty

   gave them each—in fact, gave 5,430 students—a $1,000 credit. Cooper Decl. ¶ 25. There is no

   dispute about that. Nor is there any dispute that this credit could be applied to “any of their Fall

   2020 semester charges (e.g., room, board, tuition, and fees).” Cooper Decl. ¶¶ 23–24. And for

   students who graduated in Spring 2020, they would receive a refund if the housing credit left a

   positive balance on their account. Id. ¶ 24. Students C and D received the $1,000 credits, and

   they received them in a timely manner. Student C Dep. at 102:7–21; Student D Dep. at 95:20–22.

   There is no argument that their credits went unused or were applied against expenses which they

   did not want or need. Hr’g Tr. at 21–30; Dkt. 99 at 7–8. Rather, Plaintiffs’ arguments

   challenging the availability of the credit appear to relate to other potential prospective members

   of the class—not any of the named Plaintiffs. 40 But the court must “analyze standing based on

   the allegations of personal injury made by the named plaintiffs,” and not other members of the

   prospective class. Baehr, 953 F.3d at 252. And while the credit on its own may not have made

   the Plaintiffs “whole,” see Dkt. 99 at 8, it certainly contributed to making them whole alongside

   the other payments previously mentioned.




          40
             Plaintiffs try to identify several scenarios when they say the credits were insufficient.
   For instance, they write that, “for any student who is not graduating in the 2020 class, the credit
   is not available if they choose not to return to Liberty University for the Fall 2020 semester.”
   Am. Compl. ¶ 48; Dkt. 99 at 8. They also complain that the “credit is only available if students
   made an affirmative decision not to return to their on-campus residence halls and filled out a
   form informing the University by March 28, 2020,” and that, “[o]n information and belief, many
   students missed the deadline because it was not clearly communicated or because Liberty did not
   provide adequate time and information to make an informed decision.” Am. Compl. ¶ 48.
          These scenarios do not describe the named Plaintiffs’ circumstances. Student C,
   graduated in the Spring 2020 semester and received the $1,000 credit. Student C Dep. at 14:18–
   15:12, 102:7–21. Student D continued her enrollment, testifying that she was on track to
   graduate in 2023, and she also received the $1,000 credit. Student D Dep. at 11:7–12, 32:8–11,
   95:20–22.

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          Plaintiffs liken this case to Rothman, where the district court held that a named plaintiff

   had established an injury in fact on account of the defendant gym’s refusal to refund membership

   dues but offered him a dues credit instead. See Rothman v. Equinox Holdings, Inc., No. 2:20-cv-

   9760, at *7–8 (C.D. Cal. Apr. 27, 2021); Dkt. 99 at 8. The facts of that case are very different. In

   Rothman, the plaintiff sued for “false and misleading misrepresentations that members would

   receive monetary refunds of any prepaid membership dues for periods during which the Equinox

   clubs are closed.” Id. at *1 (emphasis added). 41 Yet, when the gym closed, it offered the plaintiff

   dues credits, despite its representations “that he would automatically receive a refund if his

   Equinox club closed.” Id. at *7. Given that the plaintiff in Rothman claimed the defendant made

   specific misrepresentations concerning “the method of payments” to reimburse him, see Dkt. 99

   at 8, it is unsurprising that a defendant’s failure to follow through with a specific “method of

   payment” could carry particular weight in the injury-in-fact analysis in that case. And, while

   Plaintiffs have asserted generally that families have requested refunds rather than the $1,000

   statement credit, 42 Plaintiffs have neither alleged (nor provided evidence) that the named

   Plaintiffs, Students A, C or D (or their families for that matter), specifically sought and were

   denied a refund, further distinguishing Rothman.




          41
              Indeed, the plaintiff in Rothman pointed to language from his membership agreement,
   specifying that “Buyer should be aware that if the club closes, although the Club will remain
   legally liable to Buyer for a refund, Buyer may risk losing his or her money if the Club is unable
   to meet its financial obligations to Members.” Id. at *2 (emphasis added).
          42
             Am. Compl. ¶¶ 16, 18, 20–21, 48–50, 53–56. And while Student B or their family had
   allegedly called Liberty to ask about a refund, and that request was denied, Student B is no
   longer a named plaintiff and has dropped out of the case. Id. ¶ 54. In addition, Plaintiffs cite one
   other example of a request but do not attribute it to Students A, C, or D, and it does not appear to
   have come from them because it concerns a request from a student who was neither returning in
   Fall 2020 nor graduating. See Dkt. 43-1 (Ex. 1); Dkt. 43 at 4 & n. 1.

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           In sum, Student D received credits and could have used them to pay down “any of [her]

   Fall 2020 semester charges,” while Student C, a graduating student, received a refund. Cooper

   Decl. ¶¶ 23–25. No evidence suggests they would have used the money for anything else. No

   evidence suggests Plaintiffs suffered any financial or other harm on account of their receiving a

   credit rather than cash refund. The Court concludes that Plaintiffs’ arguments to the contrary are

   hypothetical and conjectural—not reflecting the named Plaintiffs’ own circumstances. Thus,

   Plaintiffs have shown no injury-in-fact on account of their receiving credits rather than cash

   refunds. 43

           3. The Collateral Source Rule Further Demonstrates Liberty’s Voluntary Payments
           Offset Plaintiffs’ Asserted Financial Injuries

           Plaintiffs argue that “[t]he collateral source rule bars Liberty from receiving credit for

   distributing government stimulus funds.” Dkt. 99 at 8. While Plaintiffs acknowledge that they are

   “unaware of any cases where the Virginia courts have addressed government benefits as a

   collateral source,” they cite cases from other jurisdictions for the proposition that Liberty cannot

   “claim ‘credit’ for government stimulus funds.” Id. at 10–11. As above, the Court concludes that

   Liberty’s voluntary payments (i.e., housing credit and Institutional Portion of CARES Act funds)

   must be credited against its potential tort liability under the collateral source rule—a conclusion

   that means that Plaintiffs suffered no compensable injury.



           43
              Plaintiffs also appear to make the cursory and undeveloped argument that Student A
   also suffered injury on account of the “rollover of unused meal swipes.” Dkt. 99 at 7. The
   evidence shows that 2,013 students received meal plan credits for the unused portions of their
   Spring 2020 meal plans, and that Student A had 65 meal plan swipes, with an estimated value of
   $480.25, roll over onto her Fall 2020 meal plan. Cooper Decl. ¶¶ 27–28. Student A did not
   dispute that evidence, she just said she was unaware whether she had received credit for her
   unused meal plan swipes. Student A Dep. at 70:7–10. Nor have Plaintiffs provided any evidence
   to establish that Student A suffered any injury on account of her meal plan charges, especially in
   view of Liberty’s roll-over of her unused swipes onto the next semester.

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             “A payment made by a tortfeasor ... to a person whom he has injured is credited against

   his tort liability ….” Restatement (Second) of Torts § 920A(1) (1979). In other words, “[i]f a tort

   defendant makes a payment toward his tort liability, it of course has the effect of reducing that

   liability.” Id. § 920A cmt. a. But that treatment is contrasted with the “collateral source rule,”

   which provides that payments made from collateral sources “are not credited against the

   tortfeasor’s liability, although they cover all or part of the harm for which the tortfeasor is

   liable.” Id. § 920A(2); see also id. cmt. b. Thus, if the “benefit was a gift to the plaintiff from a

   third party or established for him by law, he should not be deprived of the advantage it confers.”

   Id. (emphasis added); see also Dominion Res. Inc. v. Alstom Power, Inc., 825 S.E.2d 752, 757

   (Va. 2019) (same). Types of “collateral benefits that are not subtracted from the plaintiff’s

   recovery” include “[s]ocial legislation benefits,” such as “[s]ocial security benefits, welfare

   payments, [and] pensions under special retirement acts”—which are “all subject to the collateral-

   source rule.” Id. cmt. c(4). 44 In other words, “[t]he law does not differentiate between the nature

   of the benefits, so long as they did not come from the defendant or a person acting for him.” Id.

   cmt. b.

             Under the collateral source rule, “compensation or indemnity received by a tort victim

   from a source collateral to the tortfeasor may not be applied as a credit against the quantum of

   damages the tortfeasor owes.” Acuar v. Letourneau, 531 S.E.2d 316, 320 (Va. 2000). That is

   because “the injured party should be made whole by the tortfeasor, not by a combination of

   compensation from the tortfeasor and collateral sources.” Id. at 323. “In other words, ‘it is the

   tortfeasor’s responsibility to compensate for all harm that he [or she] causes, not confined to the


             44
              Insurance policies, whether maintained by the plaintiff or a third party, employment
   benefits, and gratuities, are benefits that are also covered by the collateral source rule and which
   are not subtracted from a plaintiff’s recovery. Restatement (Second) of Torts § 920A(1) cmt. c.

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   net loss that the injured party receives.” Id. (citing Restatement (Second) of Torts § 920A cmt. b

   (1977)). The “fundamental purpose of the rule” is “to prevent a tortfeasor from deriving any

   benefit from compensation nor indemnity that an injured party has received from a collateral

   source.” Acuar, 531 S.E.2d at 322. In Virginia, the collateral source rule applies in breach of

   contract as well as tort cases. See Dominion Resources, 825 S.E.2d at 757.

          “[T]he broad rule seems to be that where the plaintiff receives from the tortfeasor

   payments specifically to compensate him for his injury, the tortfeasor need not pay twice for the

   same damage, and therefore such compensation should be taken into account in fixing tort

   damages.” United States v. Price, 288 F.2d 448, 449 (4th Cir. 1961). But “where the injured

   plaintiff’s compensation comes from a ‘collateral source,’ it should not be offset against the sum

   awarded for the tort nor considered in determining that award.” Id. In Price, the Fourth Circuit

   considered whether an annuity payable to the plaintiff under the Civil Service Retirement Act

   should have been deducted from the damages the plaintiff sustained when he was injured during

   a motor vehicle accident caused by a government employee. Id. The court held that Civil Service

   Retirement Act benefits were payments from a “comprehensive program for the retirement of

   government employees” that were “not designed to compensate them for particular injuries

   suffered.” Id. at 450. Thus, because these payments were “essentially from a collateral source,”

   the court held that they “under the law of Virginia should not be taken into account in computing

   tort damages.” Id. at 450.

          In this case, Students A, C and D were “made whole by the tortfeasor,” and “not by a

   combination of compensation from the tortfeasor and collateral sources.” See Bullard v. Alfonso,

   595 S.E.2d 284, 286 (Va. 2004) (emphasis added). Liberty compensated Students A, C and D

   with its own money—in sums more than compensating Plaintiffs for any unused portion of



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   Spring 2020 semester prorated fees. And within context of the collateral source rule, that

   includes the Institutional Portion of CARES Act funds that Liberty paid to Students A, C and D.

   The CARES Act provided these funds to Liberty and other higher education institutions to

   broadly “cover any costs associated with significant changes to the delivery of instruction due to

   the coronavirus.” CARES Act § 18004(c). And unlike the Student Portion, 45 no law, regulation

   or contract imposed upon Liberty any obligation to disburse the Institutional Portion of these

   funds to students. 46 Indeed, Plaintiffs agree that Liberty need not have spent these funds on

   students. 47 See Dkt. 99 at 6 n. 6 (acknowledging that “there were many other permissible uses of

   the institutional portion of CARES/HEERF I funds”). For instance, Liberty could have used

   these funds for information technology equipment to assist in providing online courses for




          45
              To be sure, Liberty cannot claim an offset against the Student Portion of the CARES
   Act HEERF funds. The law required Liberty to distribute that portion to students. See CARES
   Act § 18004(c). In other words, the Student Portion was a “benefit” that was “established for [the
   students] by law,” and they “should not be deprived of the advantage that it confers.” Bullard,
   595 S.E.2d at 287 (explaining that later collateral source rule cases “have applied the rule to
   social security benefits,” as well as in numerous other circumstances). Accordingly, Liberty’s
   distribution of the Student Portion constitute paradigmatic payments from a collateral source that
   are not credited against Liberty’s liability. See Restatement (Second) of Torts § 920A(1)-(2),
   cmt. c(4) (describing “social legislation benefits” as benefits that “are subject to the collateral-
   source rule”).
          46
             Id. § 18004(c); Cooper Decl. ¶¶ 29–33; Alo v. Fresno City Coll., No. 1:22-cv-1271,
   2022 WL 17722606, at *3 (E.D. Cal. Dec. 15, 2022) (explaining that “institutions of higher
   learning are given broad discretion as to how [HEERF] funds may be used,” which funds are
   directed “to provide relief both to the institutions of higher learning themselves and to their
   students”).
          47
              Indeed, Plaintiffs further acknowledge that Liberty could have reimbursed students for
   the fees at issue from its own funds, and then used the Institutional Portion of the CARES Act
   funds to reimburse itself. See Dkt. 99 at 6 (acknowledging that “Liberty could have refunded
   students for the cost of fees and room and board, and then reimbursed itself from the institutional
   portion of the CARES [Act] funds”). Rather, they simply contend “that’s not what happened
   here.” Id.

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   remote learning students. 48 But because Liberty had the legal right to spend the funds on the

   institution itself rather than disburse it to students, the fact that the funds originated from the

   government is immaterial. The purposes of the collateral source rule are simply not implicated

   where, as here, a collateral source provides the purported tortfeasor funds for its own use, and

   that entity independently decides to provide such funds to the alleged tort victims. See Acuar,

   531 S.E.2d at 322. Liberty’s disbursement of the Institutional Portion constituted “payment[s]

   made by a tortfeasor … to a person whom he has injured,” which is “credited against [its] tort

   liability.” See Restatement (Second) of Torts § 920A(1).

           Plaintiffs argue, however, that Liberty’s distribution of HEERF I funds to Students A, C

   and D and other students “did not actually reimburse [them] for the fees and room and board

   refunds that they seek in this case,” because “Liberty never informed the students receiving those

   distributions that it was refunding them for anything.” Dkt. 99 at 5. The Court already rejected

   this argument. Record evidence discloses that Liberty provided the Institutional Portion of

   HEERF I funds to students to compensate them for “unexpected costs” resulting from the

   COVID-19 pandemic, including students’ inability to “make full use of on-campus services for

   which they paid.” See July 1, 2020 Statement (emphasis added). The Press Release further

   described that Liberty’s model for distributing HEERF I funds was based on government data of

   “eligible expenses under a student’s cost of attendance, such as food, housing, course fees,

   technology, health care, and childcare.” Id. In addition, Liberty required each student seeking

   CARES Act funds to sign a “Self-Certification,” in which Liberty explained its decision “to use

   all of its Institutional Portion for students enrolled in the on-campus program in the spring of


           48
             U.S. Dep’t of Educ., Higher Education Emergency Relief Fund FAQs,
   https://www2.ed.gov/about/offices/list/ope/heerfinstitutionalfaqs.pdf (last visited Oct. 4, 2023)
   (FAQ 4).

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   2020 when the COVID-19 coronavirus disrupted operations.” Dkt. 89-14 (emphasis added). And

   of course under the CARES Act and agency guidance, Liberty could (but need not) use the

   Institutional Portion for additional grants to students, so long as such funds were “for expenses

   related to disruption of campus operations due to coronavirus (including eligible expenses under

   a student’s cost of attendance, such as food, housing, course materials, technology, health care,

   and child care).” CARES Act § 18004(c). Where, as here, the plaintiff receives from the

   tortfeasor payments to compensate her for her injury, such compensation must be taken into

   account in fixing tort damages. See Price, 288 F.2d at 449.

          To the extent Liberty argued, however, that its “grants and scholarships” should further

   be applied to reduce Plaintiffs’ total damages, the Court disagrees. See Dkt. 89 at 18. Grants and

   scholarships, even those that come from Liberty, are not payments to compensate the tort victim

   for her injury, and therefore need not be considered for purposes of fixing tort damages. See

   Price, 288 F.2d at 449. Liberty, however, need not rely on those payments to offset Plaintiffs’

   asserted tort damages. As Table 3 demonstrates above, Liberty’s voluntary payments of the

   Institutional Portion and housing credits to the named Plaintiffs more than offset their asserted

   damages, i.e., prorated fees for the Spring 2020 semester.

                                              *       *       *

          Since Liberty voluntarily paid each of the named Plaintiffs, Students A, C and D amounts

   from its own coffers that more than compensated them for their total asserted financial injuries

   (i.e., the prorated share of their Spring 2020 fees), and did so citing their “inability to make full

   use of on-campus services for which they paid,” bedrock standing/mootness principles and the

   collateral source rule doctrine demonstrate that Liberty has extinguished any tort liability to the

   named Plaintiffs. Because Plaintiffs have not demonstrated an injury in fact and because



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   Plaintiffs’ claims accordingly have become moot, the Court must not only deny Plaintiffs’

   motion for class certification but also dismiss the case. See, e.g., Beatley v. Ayers, 851 F. App’x

   332, 336 (4th Cir. 2021) (unpublished per curiam) (holding that mid-litigation payment of full

   amount owed mooted breach of contract claim). 49, 50

                                    Motion for Class Certification

          Even if their claims were cognizable, the named Plaintiffs’ motion for class certification

   also fails to satisfy the requirements of Rule 23(a), as well as the more stringent requirements of

   Rule 23(b)(3). Accordingly, the motion for class certification fails on the merits.

      1. Standard of Review

          Rule 23(a) requires a district court to make the following determinations before any class

   action may be certified:

          (1) the class is so numerous that joinder of all members is impracticable;

          (2) there are questions of law or fact common to the class;


          49
             The Court need not consider Liberty’s further standing challenge to the original class
   definition, which sought to comprise a class including “[a]ll people—whether students or their
   parents or guardians—who paid fees” to Liberty, because the named Plaintiffs have later
   narrowed the proposed class definition to students. See Dkt. 89 at 19–20 (emphasis added); Hr’g
   Tr. at 4–5. In view of the Court’s ruling that the named Plaintiffs lack standing and that their
   claims have been mooted, the Court need not consider Liberty’s argument that Plaintiffs also
   lack standing because any injury suffered was not fairly traceable to Liberty, rather than the
   Virginia Governor’s shut-down orders and the pandemic itself. See Dkt. 89 at 18–19.
          50
               The named Plaintiffs further argue that “the question of whether Liberty can apply
   government-funded stimulus relief toward the amount of damages that it owes its students is a
   common and predominant issue for each Class member,” that “further confirm[s]” that class
   certification is appropriate. Dkt. 99 at 11–12. This argument misses the mark for two reasons.
   First, this is not just any “common defense[ ].” Id. at 11. Rather, Liberty has articulated why the
   Court lacks jurisdiction to hear this case entirely, considering that the named Plaintiffs’ claims
   have been mooted. See Baehr, 953 F.3d at 252 (“The strictures of Article III standing are no less
   important in the context of class actions.”). And second—to the extent this argument can be
   considered a common at all—it is only common insofar as it argues that whether any students
   suffered any injury, and the extent of such injury, requires individualized evidence as to credits
   or other financial offsets from Liberty.

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          (3) the claims or defenses of the representative parties are typical of the claims or
              defenses of the class; and

          (4) the representative parties will fairly and adequately protect the interests of the
              class.

   In re: Zetia (Ezetimibe) Antitrust Litig., 7 F.4th 227, 233–34 (4th Cir. 2021) (quoting Fed. R.

   Civ. P. 23(a)). The plaintiffs, as the proponents of class certification, bear the burden of

   establishing that certification is warranted and that the class complies with Rule 23. Windham v.

   Am. Brands, Inc., 565 F.2d 59, 65 n. 6 (4th Cir. 1977) (en banc); Thorn v. Jefferson-Pilot Life

   Ins. Co., 445 F.3d 311, 321 (4th Cir. 2006).

          A litigant seeking to maintain a class action “must affirmatively demonstrate his

   compliance with Rule 23.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). Rule 23

   provides more than a “mere pleading standard.” Id. The party “must not only ‘be prepared to

   prove that there are in fact sufficiently numerous parties, common questions of law or fact,’

   typicality of claims or defenses, and adequacy of representation, as required by Rule 23(a),” but

   “must also satisfy through evidentiary proof at least one of the provisions of Rule 23(b).”

   Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013) (quoting Dukes, 564 U.S. at 350). Rule

   23(b)(3), for its part, requires that “questions of law or fact predominate over any questions

   affecting only individual members, and that a class action is superior to other available methods

   for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

          The Supreme Court has “cautioned that a court’s class-certification analysis must be

   ‘rigorous’ and may ‘entail some overlap with the merits of the plaintiff’s underlying claim.’”

   Amgen, Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 465–66 (2013) (quoting Dukes,

   564 U.S. at 351). However, Rule 23 does not give courts “license to engage in free-ranging

   merits inquiries at the certification stage.” Id. at 466. Rather, questions about the merits of a case



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   may be considered “only to the extent … that they are relevant to determining whether the Rule

   23 prerequisites for class certification are satisfied.” Id.

       2. Rule 23(a)

                 a. Readily Identifiable

           Rule 23 contains an “implicit threshold requirement that members of a proposed class be

   ‘readily identifiable.’” EQT Prod. Co. v. Adair, 764 F.3d 347, 358 (4th Cir. 2014) (quoting

   Hammond v. Powell, 462 F.2d 1053, 1055 (4th Cir. 1972)). Some other courts have described the

   requirement as one of “ascertainability,” but regardless, it means that “[a] class cannot be

   certified unless a court can readily identify the class members in reference to objective criteria.”

   EQT Prod., 764 F.3d at 358. To be sure, “[t]he plaintiffs need not be able to identify every class

   member at the time of certification.” Id. However, “[i]f class members are impossible to identify

   without extensive and individualized fact-finding or ‘mini-trials,’ then a class action is

   inappropriate.” Id. (citation omitted).

           Plaintiffs seek to certify a Rule 23(b)(2), (b)(3), and/or (c)(4) class composed of:

           All students who paid fees (including but not limited to campus fees, room, board,
           parking, and other fees as broadly defined herein) in connection with enrollment in
           live, on-campus classes at Liberty University for the Spring 2020 semester.

   Dkt. 43 at 5. 51 Plaintiffs argue that their proposed class “consists of at least 14,000 people, is

   objectively defined, and its members can be readily ascertained from Liberty’s enrollment and

   payment records.” Id. at 6. Liberty, for its part, has not challenged that Plaintiffs’ proposed class

   is “readily identifiable.” See Dkt. 89 at 21–28 (describing Liberty’s Rule 23 challenges to the

   proposed class); see Hr’g Tr. at 9 (Plaintiffs’ counsel, noting that Liberty has not challenged “the




           51
                Plaintiffs do not seek refunds for tuition.

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   definite and ascertainable nature of our proposed class,” and thus, “they’ve waived the

   opposition”).

          The Court agrees that Plaintiffs’ proposed class is readily identifiable and can be

   objectively and readily ascertained from Liberty’s enrollment and payment records. Plaintiffs’

   proposed class satisfies this implicit requirement in Rule 23.

               b. Numerosity

          Next, Rule 23(a)(1) requires that a class be “so numerous that joinder of all members is

   impracticable.” Fed. R. Civ. P. 23(a)(1). There is no fixed number that is sufficient, nor any

   “mechanical test” to determine whether the rule has been satisfied. Kelley v. Norfolk & W. Ry.

   Co., 584 F.2d 34, 35 (4th Cir. 1978) (per curiam). Generally, a class of fewer than 20 members is

   not likely to be certified, “while a class of 40 or more members raises a presumption of

   impracticability of joinder based on numbers alone.” In re Zetia (Ezetimibe) Antitrust Litig., 7

   F.4th at 234 (quoting 1 Newberg on Class Actions § 3:12 (5th ed. 2021)).

          Here, Plaintiffs assert that there are “at least 14,000 members” of the proposed class—

   being “the number of students enrolled in live, in-person classes at Liberty for the Spring 2020

   semester.” Dkt. 43 at 6 (citing Am. Compl. ¶ 63). Liberty also has not challenged that Plaintiffs

   have satisfied the numerosity requirement in Rule 23(a)(1). See Dkt. 89 at 21–24. 52

          Given Plaintiffs’ uncontradicted assertion that their proposed class includes at least

   14,000 members—being the number of students enrolled in live, in-person classes at Liberty for


          52
               Liberty did write that Plaintiffs have “fail[ed] to satisfy any of the four conjunctive
   requirements” of Rule 23(a), including “numerosity.” Dkt. 89 at 21. However, unlike Liberty’s
   challenges to commonality, typicality, and adequacy of representation, Liberty never developed
   any argument challenging numerosity. Id. at 21–24. The Court will not come up with one for it.
   See Grayson O Co. v. Agadir Int’l LLC, 856 F.3d 307, 316 (4th Cir. 2017) (“A party waives an
   argument by failing to present it in its opening brief or by failing to develop its argument—even
   if its brief takes a passing shot at the issue.”).

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   the Spring 2020 semester—the Court concludes that Plaintiffs amply satisfied Rule 23(a)(1)’s

   numerosity requirement.

               c. Commonality

           Rule 23(a) also requires a plaintiff to show that “there are questions of law or fact

   common to the class.” Fed. R. Civ. P. 23(a)(2). Even a single common question will satisfy Rule

   23(a)(2). Dukes, 564 U.S. at 359. However, to satisfy the rule, not just any common question will

   do, because “[c]ommonality requires the plaintiff to demonstrate that the class members ‘have

   suffered the same injury.’” Id. at 349–50. Thus, plaintiffs’ claims “must depend upon a common

   contention” that “must be of such a nature that it is capable of class-wide resolution,” meaning

   “that determination of its truth or falsity will resolve an issue that is central to the validity of

   each one of the claims in one stroke.” Id. at 350 (emphasis added). In other words, “[w]hat

   matters to class certification … is not the raising of common ‘questions’—even in droves—but

   rather, the capacity to generate common answers apt to drive the resolution of the litigation.” Id.

   By contrast, “dissimilarities within the proposed class” may impede the “generation of common

   answers.” Id.

           Plaintiffs contend that common questions will drive resolution of Plaintiffs’ and other

   proposed class members’ claims. In their view, this case “centers on Liberty’s misconduct, which

   was uniformly experienced by the entirety of the proposed Class”—i.e., every student “who was

   enrolled for on-campus learning at Liberty for the Spring 2020 semester.” Dkt. 43 at 7. They

   propose numerous “factual questions that can be resolved through common information likely to

   be uncovered through discovery,” such as

               (1) The facts and circumstances surrounding Liberty’s response to the
               COVID-19 pandemic;

               (2) The existence and terms of the contracts between Liberty and its students;

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              (3) The nature and amount of fees paid by Liberty’s students for Spring 2020;

              (4) The nature and extent of services provided by Liberty in Spring 2020 in
              exchange for the fees;

              (5) Whether Liberty misrepresented that its campus remained ‘open’ as a
              pretext to retain its students’ fees; and

              (6) Whether Liberty wrongfully refused to refund its students’ fees after they
              demanded reimbursement.

   Dkt. 43 at 7.

          Plaintiffs also argue that there are questions of law in common as well concerning

   “central issues of liability and damages,” including whether Liberty either “breached its uniform

   contracts with its students” or “was unjustly enriched” by “retaining students’ fees without

   providing the services and activities which the fees were intended to cover.” Id. at 8.

          Liberty disagrees. Liberty argues there is no commonality “because Liberty charged each

   student different fees depending on their academic program, course load, parking, housing, and

   meal plan selections.” Dkt. 89 at 21. For example, Student D’s FCI contract shows Liberty

   charged her $155 in “material” fees, but to determine whether she was owed a refund of those

   fees, Liberty would need to determine (1) what materials the fees covered; and (2) whether she

   had access to those materials during the Spring 2020 semester. Id. In Liberty’s view, if those fees

   covered materials such as computer software she used after classes moved online, she could not

   claim those fees went unused. Id. at 22. Moreover, Liberty contends that even for those fees that

   are charged to all students (like the “student activity fee”), the amount each student pays depends

   upon the financial aid the student received. “Because determining both liability and damages

   involves distinct factual questions for each fee paid by each student,” Liberty argues that

   “Plaintiffs cannot satisfy the commonality requirement.” Id.



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          The Court agrees with Liberty. Plaintiffs have not established commonality.

          Simply put, Plaintiffs have not demonstrated that they and the other proposed class

   members “have suffered the same injury.” See Dukes, 564 U.S. at 349–50. Here, “dissimilarities

   within the proposed class” abound, materially impeding the “generation of common answers.”

   See id. at 50. Plaintiffs’ proposed class of all students who attended Liberty in person in the

   Spring 2020 semester would include students at each of its seventeen colleges and schools—

   from those in the College of Arts & Sciences to those in the School of Aeronautics, and from

   those in the School of Divinity to those in the School of Nursing, and all in between. Am.

   Compl. ¶ 23; Answer ¶ 23; Dkt. 89-13. Yet as Student C testified, “everybody paid different

   amounts of fees.” Dkt. 89-3 at 34:17–18. And Students A, C, and D were all undergraduate

   students at Liberty—two apparently in the College of Arts & Sciences, and one in the

   Engineering School. None were graduate students. None were students in any of the other fifteen

   colleges at Liberty.

          The scope of the institution is critical, and yet Plaintiffs’ attempt to represent a single,

   expansive class fails to appreciate its variegated scope. Fees varied wildly between colleges,

   programs, and courses at Liberty. In the Spring 2020 semester, Liberty charged no fewer than

   645 different course fees for enrolled students—just for its undergraduate courses. Dkt. 89-13.

   And that is to say nothing of the additional number of course fees for graduate students. The

   undergraduate student fees covered “course fees,” “material fees,” and “online content fees,” for

   such purposes as “technology or equipment purchases,” “consumable materials,” “equipment

   maintenance,” “software licensing, ” “website subscriptions,” “workshop costs,” “administrative

   costs,” “assessment fees,” “exam and exam certification,” “travel fees,” “teacher stipends,” and

   the like. Id. For example, a Divinity School student enrolled in the BIBL370 course had to pay a



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   $500 fee for software licensing or website subscription; a School of Aeronautics student enrolled

   in AVIA325 incurred a $13,300 flight fee; a Theater Arts student in THEA299 had a $225 fee

   for administrative costs; a Health Sciences student in PHED 170 had to pay $100 for animal

   care; a School of Nursing student in NURS302 had to pay a $100 course assessment fee, and

   another $125 fee for course materials or equipment maintenance; and a School of Education

   student in SMGT497 incurred a $550 travel fee. 53 The list goes on and on.

          The named Plaintiffs, as undergraduates, incurred at most five of the 645 course-specific

   fees charged to undergraduate students enrolled in the Spring 2020 semester. 54 They incurred

   varying “online content fees” between $50 and $117. But they testified that they were not

   seeking a refund of the online content fees, since they would have continued to receive the

   benefit of those fees when they were taking classes online. 55 Student D also had to pay $45 and

   $110 for two “material fees”—fees about which she could remember nothing, including whether

   she had received the benefit of those fees, and thus would not be eligible to seek

   reimbursement. 56 In other words, while the named Plaintiffs collectively incurred two unknown

   course “material fees,” they claim to seek reimbursement for over six hundred other course fees,

   on behalf of thousands of other students at fifteen other colleges in which they weren’t enrolled

   at Liberty. The highly individualized nature of course fees greatly undermines Plaintiffs’

   showing of commonality. See Garcia De León v. New York Univ., No. 21-cv-5005, 2022 WL

   2237452, at *12 (S.D.N.Y. June 22, 2022) (finding no commonality because, among other



          53
               See, e.g., id. at 3, 12, 14 (emphases added).
          54
               See Dkt. 89-8 (Student A, FCI); Dkt. 89-9 (Student C); Dkt. 89-10 (Student D).
          55
            Dkt. 89-3 at 72:22–74:20 (Student C); Dkt. 89-4 at 64:1–15 (Student D); Dkt. 89-2 at
   73:6–15 (Student A, not including online content fee among those for reimbursement).
          56
               See Dkt. 89-4 at 69:2–70:1.

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   things, “many, if not most, of the proposed class members paid different fees in exchange for

   different programs and services”).

          And the variety of fees is not the only, or even the main, problem with the named

   Plaintiffs’ attempt to show commonality. Plaintiffs also seek reimbursement for other fees, such

   as student health fees of $170, resident activity fees of $385, parking registration fees of $100,

   and room and board (which varies somewhat based on housing unit). 57 These fees might have

   been for standardized sums—removing the concern about variety of fees. But, whether and to

   what extent the named Plaintiffs and any other putative class member was actually deprived of

   the benefit of such services depends upon the highly individualized circumstances unique to that

   student—such as whether and to what extent the student did in fact use the service, could have

   done so, or was unable to do so. In other words, underlying each fee is the individualized issue,

   requiring individualized proof, whether and to what extent the student “lost the benefits of the

   services and activities for which their fees were paid.” See Am. Compl. ¶ 1. 58 “[T]he highly

   individualized character the proof of injury and damages would assume,” is yet another reason

   the proposed class is not suitable for certification. See Windham, 565 F.2d at 66.

          For example, students on campus continued to have access to the Student Health Center

   (that was funded by student health fees), and those who did not return still had access to the

   Student Health Center, which utilized “telemedicine to provide virtual appointments.” Cooper



          57
            Dkt. 43 at 3; Dkt. 89-5 at 7 (Student A); Dkt. 89-6 at 7 (Student C); Dkt. 89-7 at 7
   (Student D).
          58
              Plaintiffs are incorrect to assert that “[t]he specific fees Liberty charged each student
   goes only to the amount of damages, not the existence of damages, and does not defeat class
   certification.” Dkt. 99 at 12. Using their own claim language, if a student had not “lost the
   benefit” of the service or and activity for which any particular fee was paid, there could be no
   injury—no breach of contract or unjust enrichment. Necessary individualized questions concern
   liability as well as damages.

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   Decl. ¶¶ 6, 11. However, none of the named Plaintiffs attested that they tried and were unable to

   access the Student Health Center or received deficient health services during the Spring 2020

   semester. 59 The record therefore does not appear to show any of the named Plaintiffs suffered

   any financial loss at all in respect of the student health fee. But even if they (or other students)

   were able to demonstrate that they did not have access to services covered by the student health

   fee, determining which members of a class “actually sought to avail themselves of services but

   were unable to do so is an exercise that requires making a fact-specific determination about each

   putative class member.” See Garcia de León, 2022 WL 2237452, at *13. It would require the

   Court to “undertake a searching inquiry into what each of approximately [14,000] students did

   and did not do during the first months of the pandemic with respect to … student health”—

   circumstances under which the named Plaintiffs “cannot establish through common proof that

   the entire class ‘suffered the same injury,’ and that an issue ‘central to the validity’ of each

   putative class member’s claim can be ‘resolve[d] … in one stroke.” See Id. at *13 (quoting

   Walmart, 564 U.S. at 350).

          For these same reasons, Plaintiffs’ argument that calculating damages here would be

   nothing more than a “mechanical task,” ignores the broad and multifaceted scope of the proposed

   class. See Dkt. 99 at 12–13. To be sure, Liberty may have a “published, finite, list of fees,” and it

   may be able to “pull a report showing total charges for the semester, by student.” Id. at 13. But



          59
              Student A Dep. at 93:14–18, 99:2–6 (testifying that she could not remember whether
   she used the Student Health Center or its telemedicine services in Spring 2020); id. at 98:20–99:1
   (testifying that she was unaware whether Student Health Center remained open for those students
   remaining on campus); Student C at 78:7–79:2 (testifying that she may have “visited [the Student
   Health Center] once at the beginning of the spring,” and that she believed student health services
   remained available after March 23, 2020); Student D at 65:4–14 (testifying that she did not know
   whether the Student Health Center remained open in Spring 2020, or whether it offered virtual
   appointments for those who left campus).

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   even armed with those sources of information, the Court has to consider “the highly

   individualized character the proof of injury and damages would assume,” Windham, 565 F.2d at

   66, concerning whether, in view of each student’s specific circumstances in March 2020, that

   student actually “lost the benefits of the services and activities for which their fees were paid,

   without having those fees refunded to them.” See Am. Compl. ¶ 1. And that same hopelessly

   individualized inquiry concerns not just the amount of damages, but also liability. Further still,

   any student’s financial injury will also depend upon whether the student received awards or

   grants from Liberty or elsewhere, that would have offset their liability for all or part of any of the

   claimed fees, as indeed 95 percent of all Liberty students receive some form of financial aid. See

   Cooper Decl. ¶¶ 15, 18, 22 (describing loans, grants and scholarships).

           Moreover, the record does not support Plaintiffs’ assertion that Liberty’s conduct

   “uniformly” affected “the entirety of the proposed Class”—far from it. Again, the named

   Plaintiffs were undergraduate students, two apparently in the College of Arts and Sciences, one

   in the School of Engineering. None were graduate students. And none were in any of Liberty’s

   fifteen other colleges. Further, Plaintiffs’ case is all about fees. Their attempt to center this case

   on “Liberty’s misconduct” rather than fees is a false distinction, and one that ignores Plaintiffs’

   own theory of the case. See Am. Compl. ¶ 15 (describing Liberty’s “improper conduct” as

   “retaining the costs and fees paid by Plaintiffs and other Class members” when it encouraged

   students to move off campus).

           This case is similar to Garcia De León v. New York University, 2022 WL 2237452.

   There, the named plaintiff, a graduate student at NYU, filed a class action seeking—as here—

   pro rata reimbursement of fees incurred during the Spring 2020 semester. And yet, as here,

   “every student at NYU d[id] not pay the same amount in fees or pay fees for the same programs



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   and services”; since “NYU is made up of 18 different schools and colleges,” and “NYU students

   pay a wide variety of different fees, depending on what schools they attend and the particular

   program and courses they enroll in.” Id. at *3. In other words, “many, if not most, of the

   proposed class members paid different fees in exchange for different programs and services.” Id.

   at *12. Indeed, “the putative class members … ha[d] little in common except that they were

   enrolled in the university in 2020 and paid some type of fee to some entity within NYU for some

   purpose.” Id. at *12–13. The court explained that this proposed class was like the employees at

   Walmart who “held a multitude of different jobs, at different levels of [its] hierarchy,” and had

   “little in common but their sex and th[e] lawsuit,” which the Supreme Court concluded did not

   give rise to common claims, since “each such decision would have to be assessed on its own

   merits.” Id. at *12–13 (citing Walmart, 564 U.S. at 359–60). Accordingly, the court in Garcia de

   León concluded that the plaintiff had demonstrated neither commonality nor typicality of her

   claims. Id. at *11.

          The court’s reasoning in Garcia de León is readily applicable here. 60 It illustrates that

   whether students were able to, or did, take advantage of the services and activities for which

   students paid fees, is not merely some “merits issue [that is] not appropriate for determination at


          60
              The named Plaintiffs argued that Garcia de León is “not relevant here,” because NYU
   had “conducted an extensive proactive analysis of all spring 2020 school and course-based bills
   that had been billed by the Bursar for the spring semester,” and “issued full or pro rata refunds
   where students did not receive all or part of the services, supplies, and equipment associated with
   the fee.” Dkt. 138 at 1–2 (quoting Garcia de León, 2022 WL 2237452, at *4). But the named
   Plaintiffs omitted the next lines of the opinion: “Whether funds were refunded varied among the
   different schools, colleges, programs, and courses.” Garcia de León, 2022 WL 2237452, at *4.
   NYU determined that some fees should be uniformly refunded, like housing and dining, other
   fees, like the “registration and services fees” and “individual program-based fees,” varied by
   program and school. Id. at *3–4. Far from demonstrating the decision is “not relevant,” the
   named Plaintiffs’ position only underscores the underlying rationale of that opinion that class
   certification is not warranted where—as here—individualized inquiry predominates questions of
   whether, and to what extent, any student suffered financial injury.

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   this stage,” or a question about individualized damages. Dkt. 99 at 14. Rather, the issue underlies

   whether each student suffered harm, whether Liberty is liable, and to what extent. And given the

   highly individualized nature of that injury, Plaintiffs have not shown “that the class members

   have suffered the same injury,” or that they have raised “common questions” capable of

   generating “common answers apt to drive the resolution of the litigation.” See Walmart, 564 U.S.

   at 349–50. Accordingly, this Court similarly concludes that the named Plaintiffs have not shown

   commonality.

               d. Typicality

           Named parties can represent absent class members when “the representative parties’

   claims are typical of the claims of every class member.” Deiter v. Microsoft Corp., 436 F.3d 461,

   466 (4th Cir. 2006). Typicality requires that “a class representative must be part of the class and

   possess the same interest and suffer the same injury as the class members.” Id. The “essence” of

   the typicality requirement is the idea that “as goes the claim of the named plaintiff, so go the

   claims of the class.” Broussard v. Meineke Discount Muffler Shops, Inc., 155 F.3d 331, 340 (4th

   Cir. 1998) (citation omitted). A plaintiff’s claim will not satisfy typicality if it is “so different

   from the claims of absent class members that their claims will not be advanced by plaintiff’s

   proof of his own individual claim.” Deiter, 436 F.3d at 466–67. However the named plaintiff’s

   claim and that of absent class members need not “be perfectly identical or perfectly aligned.” Id.

   at 466–67. At bottom, the representative party “may proceed to represent the class only if the

   plaintiff establishes that his claims or defense are ‘typical of the claims or defenses of the class.”

   Id. at 467 (quoting Fed. R. Civ. P. 23(a)(3)).

           The named Plaintiffs have also failed to establish that their claims “are typical of the

   claims of every class member,” see Deiter, 436 F.3d at 466, for largely the same reasons as they



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   failed to establish requisite commonality. 61 The three named Plaintiffs are undergraduate

   students in it appears two of Liberty’s seventeen colleges and schools. Collectively, they incurred

   two course fees (and even as to those two “material fees,” Student D could not recall what they

   were or whether she’d gotten the benefit of them), and yet they seek to bring a class on behalf of

   about 14,000 students who have incurred hundreds of other course fees—indeed, as many as 645

   course fees were listed for the Spring 2020 semester. The named Plaintiffs seek reimbursement

   of other fees, such as the student health fee, and yet none of them testified to having been

   deprived of student health services in any way. Similarly individualized questions concern

   whether and to what extent Liberty’s voluntary payments (from its Institutional Portion of

   CARES Act funds, and housing credit), or other grants, scholarships, and awards, have covered

   in whole or in part such fees.

               e. Adequacy

          The Court must also consider whether “the representative parties will fairly and

   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). That is to say, a “class

   representative must be part of the class and possess the same interest and suffer the same injury

   as the class members.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625–26 (1997). This

   requirement “serves to uncover conflicts of interest between named parties and the class they

   seek to represent.” Id. at 625. Liberty’s argument in this respect is that “[a]nonymous students

   cannot adequately represent the class.” Dkt. 89 at 23. Liberty contends that the named Plaintiffs’

   “refusal to reveal their identities to the public makes it impossible for putative class members to

   ascertain the loyalties of three nameless, faceless students.” Id.



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              Notably, Plaintiffs largely collapsed their arguments concerning commonality and
   typicality into the same analysis. See Dkt. 99 at 12–15.

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          This argument is unpersuasive. For one, while their identities have been afforded

   anonymity, the record discloses substantial information about each of the named Plaintiffs, such

   as what they studied, their major, what year they were in school, whether they lived on campus

   or off, etc. Indeed, Liberty filed the full transcripts for the depositions of Students A, C, and D,

   redacted only as to their name and potential other identifying information. See Dkts. 89-2, 89-3,

   89-4. There is ample basis upon which any prospective class member or other interested party

   could evaluate whether the named Plaintiffs will “fairly and adequately protect the interests of

   the class,” notwithstanding their anonymity. Nor has there been any argument, much less any

   evidence to back up, any claim that there exists a risk of “conflicts of interest between named

   parties and the class they seek to represent.” See Amchem, 521 U.S. at 625. Therefore, while the

   Court has concluded that the named Plaintiffs have not shown that their proposed class should be

   certified for failure to show other requirements of Rule 23(a) and Rule 23(b)(3), the Court

   concludes that Liberty’s argument as to adequacy does not provide additional grounds to reject

   the proposed class.

      3. Rule 23(b) (Predominance and Superiority)

          Certification of a class under Rule 23(b)(3) requires that (1) “all of the prerequisites of

   Rule 23(a) are satisfied,” (2) “common questions of law or fact … predominate over any

   questions affecting only individual class members,” and (3) “proceeding as a class [is] superior

   to other available methods of litigation.” In re Zetia (Ezetimibe) Antitrust Litig., 7 F.4th at 234

   (citing EQT Prod., 764 F.3d at 357). The “predominance inquiry” tests whether the proposed

   class is “sufficiently cohesive to warrant adjudication by representation.” Amchem, 521 U.S.

   at 623. Predominance is “similar to but more stringent than the commonality requirement of Rule

   23(a).” Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311, 319 (4th Cir. 2006) (internal



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   quotation marks omitted). Factors pertinent to the Rule 23(b)(3) inquiry include: (A) the class

   members’ interests in individually controlling the prosecution or defense of separate actions; (B)

   the extent and nature of any litigation concerning the controversy already begun by or against

   class members; (C) the desirability or undesirability of concentrating the litigation of the claims

   in the particular forum; and (D) the likely difficulties in managing a class action.” Fed. R. Civ. P.

   23(b)(3)(A)–(D).

           Plaintiffs argue this case meets the Rule 23(b)(3) predominance and superiority

   requirements. They contend that “[c]ourts routinely certify classes where, as here, litigation

   centers on a single course of conduct by the defendant that is determinative of liability and is

   common to all class members.” Dkt. 43 at 12. Plaintiffs recognize that “the amount of damages

   may differ slightly among Class members,” such as depending upon who lived on and off

   campus, but argue that “damages are easily identifiable and capable of calculation using a single,

   common formula.” Id. at 13. In their view, that simple damages formula is “multiplying the total

   fees paid for each Class member times the percent of time remaining in the Spring 2020 semester

   when campus was shutdown (about 40%).” Id. at 13–14. Moreover, Plaintiffs contend that a

   class action is the superior procedure for managing this case. Their proposed class would include

   over 14,000 members, and “[w]ithout a representative, aggregate action, thousands of students

   likely will be unable to seek relief, because the costs of litigation are far greater than the relief

   potentially available to them.” Id. at 14.

           Liberty contends, by contrast, that “[c]ommon issues do not predominate here because

   establishing whether any student suffered an injury, and if so, what damages that student

   suffered, requires each student to present individualized evidence regarding their fees and credits

   for the Spring 2020 semester.” Dkt. 89 at 25. That “fact-intensive inquiry” would include



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   identifying the amount and nature of each student’s specific fees; tracing funding, financial aid,

   and other scholarships to sources that offset fee payments; “determine[ing], as to each student,

   which fees and associated services were rendered ‘unusable’ as a result of the pandemic”; and

   assessing whether Liberty’s credits and CARES Act funds exceeded the prorated fee total. Id.

   Similarly, Liberty argues that “individualized damages calculations render the class

   unmanageable,” and would result in “thousands of mini-trials,” and as a result, proceeding as a

   class is not superior to other methods of adjudication. Id. at 25–26.

          The Court has already concluded that the named Plaintiffs have failed to establish

   commonality and typicality. The Court similarly concludes that the named Plaintiffs have

   established neither the predominance nor superiority requirements of Rule 23(b)(3).

          The named Plaintiffs argue that “[t]here is no need to look at individual services and

   activities and whether individual students used them or could have used them.” Dkt. 99 at 17. In

   their view, “[o]nce classes were moved online, there was no reason to go to campus, so students

   necessarily did not get the value that they paid for.” Id. Thus, “damages are easily identifiable

   and capable of calculation using a single, common formula,” specifically “multiplying the total

   fees paid for each Class member times the percent of time remaining in the Spring 2020 semester

   when campus was shut[ ] down (about 40%).” Dkt. 43 at 13–14. To be sure, it is a simple

   formula—for some other case. But under the named Plaintiffs’ own theory of this case, it is

   impossible to lump together 14,000 students who were charged hundreds of different fees, into

   one group and just claim refunds for everything.

          As described above, there were at least 645 course fees (for undergraduate courses alone)

   for the Spring 2020 semester, covering all range of services, programs, or costs. Just as an

   example (among hundreds), if a student had already received the materials accompanying the



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   “material fees,” such as art supplies, they likely would not have “lost the benefits of the services

   and activities” for which the fee was paid, see Am. Compl. ¶ 1; Garcia de León, 2022 WL

   2237452, at *12 (noting that “Plaintiff has not indicated that she returned the art supplies for

   which she paid a $30 fee to NYU, which calls into question whether she should be entitled to a

   refund of that fee”). The same goes for computer program or other subscription fees. As above,

   even relatively standardized fees like the student health fee require inquiry into whether a student

   was denied any access to student health services—and none of these named Plaintiffs testified

   that they did not receive student health services they paid for. The same goes for room and

   board. 2,284 students remained on campus after classes moved online; 1,536 stayed through

   graduation. 62 Those staying through graduation presumably would have no colorable claim to

   room and board refunds—after all, they continued to enjoy the benefits and services of (room

   and board) that they paid for, for the duration of the semester. See Am. Compl. ¶ 1. Others stayed

   for some period after spring break 2020, but left before the end of the semester. Others left right

   after spring break when Plaintiffs claim campus was “effectively” shut down. It belies reality to

   assert—as Plaintiffs do—that these classes of students were comparably denied the benefit of

   their room and board. The effect of the asserted injury (alleged deprivation of activities and

   services) was not felt uniformly among those who paid for any of these hundreds of fees—far

   from it. Rather, it depended upon each student’s individual educational, financial, and other

   circumstances that semester.

          The named Plaintiffs contend that this case at most reflects individualized issues of

   damages, which, alone, generally would not suffice to defeat class certification. Dkt. 99 at 16;

   Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 427–28 (4th Cir. 2003) (“Rule 23 contains no


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               Cooper Decl. ¶ 9.

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   suggestion that the necessity for individual damage determinations destroys commonality,

   typicality, or predominance, or otherwise forecloses class certification.”). Not so. There are two

   remaining claims: breach of contract and unjust enrichment. The elements of breach of contract

   are “(1) a legally enforceable obligation of a defendant to a plaintiff; (2) the defendant’s

   violation or breach of that obligation; and (3) injury or damage to the plaintiff caused by the

   breach of obligation.” Student A v. Liberty Univ., Inc., 602 F. Supp. 3d 901, 909 (W.D. Va.

   2022) (quoting MCR Fed., LLC v. JB&A, Inc., 808 S.E.2d 186, 195 (Va. 2017)). Individualized

   inquiry with respect to fees is necessary for, not just damages, but at minimum the second and

   third elements of the breach of contract claim (i.e., breach and damages). Id. at 910 (element of

   breach requires consideration of whether “Liberty failed to fulfill its end of the bargain to

   provide such services or activities” for which the students “paid such fees”). And even the first

   element will require individualized inquiry. To be sure, while students’ FCI contracts contain

   certain uniform language, the specific obligations owed by Liberty, any professor or third party

   as to any fee will vary by student. See Cooper Decl. ¶¶ 16–18; Dkt. 89-8 at 2, 24.

           So too with respect to the unjust enrichment claim. To succeed on that claim, the named

   Plaintiffs must ultimately show “(1) a plaintiff ‘conferred a benefit’ on a defendant; (2) the

   defendant ‘knew of the benefit and should reasonably have expected to repay’ the plaintiff; and

   (3) the defendant ‘accepted or retained the benefit without paying for its value.’” See id. at 912

   (quoting T. Musgrove Constr. Co., Inc. v. Young, 840 S.E.2d 338, 341 (Va. 2020). And

   notwithstanding the payment of fees for various services and activities, whether Liberty “should

   reasonably have been expected to pay those fees back,” and whether Liberty “accepted the

   benefit (the fees) without providing the accompanying services or reimbursing the fees,” are

   elements of that claim that similarly require individualized inquiries. See id.



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          The named Plaintiffs are incorrect to argue that the only individualized evidence would

   concern damages. See Dkt. 99 at 16–18. And, even if that contention was true, “individualized

   damage determinations cut against class certification under Rule 23(b)(3).” Ward v. Dixie Nat’l

   Life Ins. Co., 595 F.3d 164, 180 (4th Cir. 2010). Claims for damages that are too “dependent

   upon consideration of the unique circumstances pertinent to each class member”—as here—are

   not “natural candidate[s] for class-wide resolution.” See Broussard v. Meineke Discount Muffler

   Shops, Inc., 155 F.3d 331, 343 (4th Cir. 1998). But as described above, unlike the cases the

   named Plaintiffs cite, it is not only the damages determinations that require individualized

   inquiry here. Rather, under the named Plaintiffs’ own theory of the case, whether any student at

   Liberty in the Spring 2020 semester suffered any injury, by “los[ing] the benefits of services and

   activities for which their fees were paid,” see Am. Compl. ¶ 1, and whether Liberty was liable

   for any such injury, depends upon the individualized facts of each student’s financial situation

   and other circumstances during that semester. Here, “the highly individualized character the

   proof of injury and damages would assume,” undermine any showing of predominance and

   superiority. See Windham, 565 F.2d at 66.

          In addition, as Liberty has argued, individualized inquiries concerning whether

   “scholarships, grants and other sources,” or Liberty’s housing credit and CARES Act payments,

   “zeroed out or exceeded the prorated fee total,” are further required to determine whether each

   student in fact had to pay for any fees sought—a necessary (but not sufficient) predicate for any

   injury, liability and damages. See Dkt. 89 at 25. Plaintiffs heavily rely upon a case in which the

   district court granted class certification on a breach of contract claim for a class of students

   seeking reimbursement for campus fees. See Little v. Grand Canyon Univ., No. 20-cv-795, 2022

   WL 266726, at *7 (D. Ariz. Jan. 28, 2022); Dkt. 135 at 2–4. Notably, that court denied



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   certification on an unjust enrichment claim, explaining that “[c]ommon questions will rarely, if

   ever, predominate an unjust enrichment claim, the resolution of which turns on individualize

   facts.” Id. (quoting Vega v. T-Mobile USA, Inc., 564 F.3d 1256, 1274 (11th Cir. 2009)). And,

   although the Little court did certify a class on the breach of contract claim, the Seventh Circuit

   has recently cautioned against summarily following that court’s conclusion without conducting

   the requisite “rigorous analysis” into whether certification is warranted, including the

   university’s arguments that “[the plaintiff’s] breach of contract claim would lead to many

   individual questions regarding damages.” See Eddlemon v. Bradley Univ., 65 F.4th 355, 340 (7th

   Cir. 2023) (vacating and remanding district court’s certification order; finding reversible error as

   to findings that named plaintiffs had established commonality and predominance of proposed

   class seeking refunds for prorated tuition and activity fee). Here, such an analysis demonstrates

   that common issues do not predominate. Just the opposite.

          Plaintiffs further argue that a class action is the superior procedure for managing this

   class. Dkt. 43 at 14–15. In their view, without a representative aggregate action, “thousands of

   students likely will be unable to seek relief, because the costs of litigation are far greater than the

   relief potentially available to them.” Id. at 14. The Court is not unmindful of this concern that the

   financial incentives for individual students to seek relief, compared with the costs attendant to

   litigation, may dissuade some from individually seeking relief. See Amchem, 521 U.S. at 617

   (explaining that class actions are meant “to overcome the problem that small recoveries do not

   provide the incentive for any individual to bring a solo action prosecuting his or her rights”). But

   Plaintiffs’ cited authority that certifying a class is the superior procedure does not account for the

   massive manageability problems inherent in this case. See Lee v. JNL Constr. Servs., No. 17-cv-

   2765, 2019 WL 3869412, at *5 (D. Md. Aug. 16, 2019) (finding superiority met and certifying



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   FLSA class of “potential 87 class members”); Dkt. 43 at 14 (citing Lee v. JNL Constr. Servs.). In

   particular, “superiority is not satisfied because the potential efficiencies of a class action are not

   realized where”—as here—“an individual assessment of each putative class members claims

   must be made.” See Henderson v. Corelogic Nat’l Background Data, LLC, No. 3:12-cv-97, 2016

   WL 4611570, at *12 (E.D. Va. Sept. 2, 2016) (cleaned up); accord Broussard, 155 F.3d at 343–

   44 (explaining that while “a class action may be the most economical and efficient means of

   litigation in many circumstances,” that fact cannot support certifying a class where “the class

   claims were based on widely divergent facts,” and “without any necessary connection to the

   merits of each individual claim”).

          For these reasons, the Court concludes that the named Plaintiffs have not demonstrated

   either that “common questions of law or fact … predominate over any questions affecting only

   individual class members,” or that “proceeding as a class [is] superior to other available methods

   of litigation.” See In re Zetia (Ezetimibe) Antitrust Litig., 7 F.4th at 234 (citing EQT Prod., 764

   F.3d at 357).



                                               Rule 23(b)(2)

          Plaintiffs also briefly argued that certification of a declaratory and injunctive relief class

   is appropriate under Rule 23(b)(2). Dkt. 43 at 15–16. Under that rule, a class may be certified if

   the Rule 23(a) requirements are met and “the party opposing the class has acted or refused to act

   on grounds that apply generally to the class, so that final injunctive relief or corresponding

   declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

          Plaintiffs’ attempt to invoke this rule fails. “Rule 23(b)(2) does not cover cases where the

   primary claim is for damages, but rather is only applicable where the relief sought is …



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   predominantly injunctive or declaratory.” Thorn, 445 F.3d at 329 (internal quotation marks

   omitted); see also Zimmerman v. Bell, 800 F.2d 389–90 (4th Cir. 1986) (holding that Rule

   23(b)(2) does not apply where the proposed class seeks “essentially monetary relief”). The only

   injunctive relief sought here is nominal at best: that the Court “enjoin[ ] Defendant from

   retaining the pro-rated, unused portion of monies paid for fees.” Am. Compl. at p. 24 (emphasis

   added). And the only declaratory relief sought as to the merits of Plaintiffs’ pending claims is a

   declaration “that Defendant has wrongfully kept the monies paid for fees.” Id. at p. 23. Because

   Plaintiffs’ entire case is about seeking fee refunds, not seeking any declaratory or injunctive

   relief, and given the nature of Plaintiffs’ claims, the Court holds that certification under Rule

   23(b)(2) is inappropriate.

                                              Rule 23(c)(4)

          Finally, the named Plaintiffs argued that, in the alternative, the Court should grant class

   certification under Rule 23(c)(4). Dkt. 43 at 16–17. In their view, even if common questions do

   not predominate, they contend that “Rule 23(c)(4) grants this Court the discretion to proceed

   with class adjudication of the key issues establishing Liberty’s liability.” Id. at 17. And, they

   argue, “[t]he only issues that will require separate inquiry … relate to damages.” Id. Because

   “[a]ny follow-on proceedings to determine damages would be far more efficient than re-trying

   the core liability questions hundreds or thousands of times,” the named Plaintiffs argue that if

   this Court determines that certification under Rule 23(b) is inappropriate, it should grant class

   certification under Rule 23(c)(4). Id. The named Plaintiffs’ argument fares no better in this

   respect.

          Rule 23(c)(4) provides that, “[w]hen appropriate, an action may be brought or maintained

   as a class action with respect to particular issues.” Fed. R. Civ. P. 23(c)(4). The Fourth Circuit



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   has “held that this rule allows for certification of a class as to a particular cause of action, even

   where a lawsuit as a whole would not satisfy Rule 23(b)’s predominance requirement.” In re

   Marriot Int’l, Inc., 78 F.4th 677, 688 (4th Cir. 2023) (citing Gunnells, 348 F.3d at 439–45). The

   named Plaintiffs’ argument to certify an issues class, however, incorporates the same flaws as

   their arguments to certify a class under Rule 23(b)—namely, the misperception that individual

   differences among students are immaterial to class-wide resolution of the claims. In other words,

   this argument “cleave[s] off individualized questions of liability, as well as damages, for separate

   individual trials, diminishing the efficiency gains of the class proceedings.” See In re Marriott

   Int’l, Inc., 78 F.4th at 689. And while an issue class may somewhat address the “incentive

   problem” that individual plaintiffs may have enough at stake to justify individual litigation, “that

   benefit, too, is diminished by issue certifications where the remaining individualized issues will

   also require significant resources.” See id. (cleaned up). For the same reasons that superiority is

   not satisfied with respect to the Rule 23(b) class, the Court concludes that superiority also

   “comes into play to defeat issue certification” here. See id.

           The Court further notes that the named Plaintiffs did not seek to narrow the potential

   class members to those with more uniform circumstances, such as those within an individual

   school in Liberty, and the Court will not attempt to devise subclasses that might pass muster

   under Rule 23 or Rule 23(c)(4), where the named Plaintiffs themselves have not sought to do so.

   See Garcia de León, 2022 WL 2237452, at *2–3, 11 (in concluding that there is no commonality,

   explaining that “[a]t most, Plaintiff might (but does not) argue that her injury shares common

   features with other students at the Silver School,” i.e., NYU’s School of Social Work, rather than

   NYU and its 18 “different schools and colleges” in its entirety).

                                              *       *       *



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           Because the Court concludes that the named Plaintiffs have not demonstrated

   commonality, typicality, predominance, or superiority, the Court must deny their motion for

   class certification.

                                              Conclusion

           The Court has determined that the named Plaintiffs have not suffered an injury-in-fact

   and their claims have been mooted. The Court has further concluded that the named Plaintiffs

   have not satisfied the requirements for class certification under Rule 23(a) or Rule 23(b)(3)—or

   Rule 23(b)(2) or (c)(4) for that matter. Accordingly, in an accompanying Order, to follow, the

   Court will deny the named Plaintiffs’ motion for class certification and dismiss the Amended

   Complaint.

           The Clerk of Court is directed to send this Memorandum Opinion to all counsel of record.

                                        Entered this ____
                                                     10th day of October, 2023.




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